
722 S.E.2d 597 (2012)
Deborah HINTON-LYNCH
v.
Bruce FRIERSON, Carolyn Frierson, and Chesare Horton.
No. 488P11.
Supreme Court of North Carolina.
March 8, 2012.
Alicia J. Whitlock, Raleigh, for Hinton-Lynch, Deborah.
George B. Mast, Smithfield, for Frierson, Bruce, et al.
Alan B. Hewett, Smithfield, for Horton, Chesare.

ORDER
Upon consideration of the petition filed on the 8th of November 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
